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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              Case No. 8:05CR282
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                    ORDER
WILLIAM SCHWENING,                            )
RUSSELL HOFFMANN,                             )
                                              )
                     Defendants.              )

       This case came before the court for a telephone conference with counsel regarding

a 17.1 hearing. Charles Forrest represented defendant Schwening, Richard Greenberg

represented defendant Hoffmann, and Jan Sharp, Assistant U. S. Attorney, represented

the plaintiff. Therefore,

       IT IS ORDERED:

       1. Any motions in limine shall be filed on or before June 26, 2006.

       2. A hearing on the motions in limine will be held before the Honorable Joseph F.

Bataillon, on July 5, 2006 at 8:30 a.m., in Courtroom 3, 3rd Floor of the Roman L. Hruska,

United States Courthouse, 111 South 18 th Plaza, Omaha, Nebraska.

       3. Arraignment of the defendants on the Second Superseding Indictment will also

be held on July 5, 2006 at 8:30 a.m., before the Honorable Joseph F. Bataillon.

       Dated this 19th day of June 2006.


                                           BY THE COURT:


                                           s/ F. A. Gossett
                                           United States Magistrate Judge
